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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF OKLAHOMA

MIKKI J. SIMON,                              )
                                             )
                     Plaintiff,              )
                                             )
v.                                           ) Case No. CIV-19-129-SPS
                                             )
COMMISSIONER of the Social                   )
Security Administration,                     )
                                             )
                    Defendant.               )

                                     JUDGMENT

       In accordance with the Opinion and Order [Docket No. 17] entered

contemporaneously herewith, remanding this action to the Defendant under the fourth

sentence of 42 U.S.C. § 405(g), the Court hereby renders judgment in favor of the Plaintiff

and against the Defendant pursuant to Fed. R. Civ. P. 58(a).

       IT IS SO ORDERED this 1st day of September, 2020.



                                   ____________________________________
                                   STEVEN P. SHREDER
                                   UNITED STATES MAGISTRATE JUDGE
